Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 1 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 2 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 3 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 4 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 5 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 6 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 7 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 8 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                   Exhibits G H and I Page 9 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 10 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 11 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 12 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 13 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 14 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 15 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 16 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 17 of 18
Case 09-29905   Doc 17-18 Filed 09/15/09 Entered 09/15/09 17:06:23   Desc
                  Exhibits G H and I Page 18 of 18
